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                                                                                                             VALDEZ
                                  United States District Court
               Northern District of Illinois − CM/ECF NextGen 1.7.1.1 (Chicago)
                        CIVIL DOCKET FOR CASE #: 1:23−cv−02246

Bazinett v. Pregis LLC                                                   Date Filed: 04/10/2023
Assigned to: Honorable Steven C. Seeger                                  Jury Demand: Plaintiff
Demand: $9,999,000                                                       Nature of Suit: 790 Labor: Other
Cause: 28:1332 Diversity−Fraud                                           Jurisdiction: Diversity
Plaintiff
Lori Bazinett                                             represented by Yitzchak Kopel
individually and on behalf of all others                                 Bursor & Fisher P.A.
similarly situated                                                       1330 Avenue of the Americas
                                                                         32nd Floor
                                                                         New York, NY 10019
                                                                         917−776−6740
                                                                         Email: ykopel@bursor.com
                                                                         ATTORNEY TO BE NOTICED


V.
Defendant
Pregis LLC                                                represented by Jennifer Helen Kay
                                                                         Ogletree Deakins Nash Smoak & Stewart, PC
                                                                         155 North Wacker Drive
                                                                         Suite 4300
                                                                         Chicago, IL 60606
                                                                         (312) 558−3020
                                                                         Email: jennifer.kay@ogletree.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Kelly M Cardin
                                                                         Ogletree, Deakins, Nash, Smoak & Stewart, PC
                                                                         599 Lexington Avenue
                                                                         Floor 17
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                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED


 Date Filed         #    Docket Text

 04/10/2023       Ï1     COMPLAINT filed by Lori Bazinett; Jury Demand. Filing fee $ 402, receipt number
                         AILNDC−20526675. (Attachments: # 1 Civil Cover Sheet)(Kopel, Yitzchak) (Entered: 04/10/2023)

 04/10/2023        Ï     SUMMONS Issued as to Defendant Pregis LLC (jn, ) (Entered: 04/10/2023)

 04/11/2023        Ï
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                   CASE ASSIGNED to the Honorable Steven C. Seeger. Designated as Magistrate Judge the
                   Honorable Maria Valdez. Case assignment: Random assignment. (jb, ) (Entered: 04/11/2023)

04/11/2023   Ï     CLERK'S NOTICE: Pursuant to Local Rule 73.1(b), a United States Magistrate Judge of this court
                   is available to conduct all proceedings in this civil action. If all parties consent to have the currently
                   assigned United States Magistrate Judge conduct all proceedings in this case, including trial, the
                   entry of final judgment, and all post−trial proceedings, all parties must sign their names on the
                   attached Consent To form. This consent form is eligible for filing only if executed by all parties.
                   The parties can also express their consent to jurisdiction by a magistrate judge in any joint filing,
                   including the Joint Initial Status Report or proposed Case Management Order. (jb, ) (Entered:
                   04/11/2023)

04/13/2023   Ï2    MINUTE entry before the Honorable Steven C. Seeger: The Court took a look at the complaint in
                   this new case. Plaintiff Lori Bazinett filed suit under New York labor law, alleging that Defendant
                   Pregis LLC is failing to pay on a timely basis. She brings a claim under the Class Action Fairness
                   Act, and invokes this Court's diversity jurisdiction. Plaintiff alleges that she is a citizen of New
                   York. The complaint also alleges that Pregis LLC is a Delaware LLC with a principal place of
                   business in Illinois. But a corporation and a limited liability company are not the same thing. The
                   differences include citizenship. A corporation is a citizen where it is incorporated and where it has
                   its principal place of business. But a limited liability company is a citizen wherever its members are
                   citizens. It makes no difference where a limited liability company is registered, or where it has its
                   principal place of business. For an LLC, the citizenship of its members is all that matters. See
                   Belleville Catering Co. v. Champaign Mkt. Place, LLC, 350 F.3d 691, 692 (7th Cir. 2003); Martin
                   v. Living Essentials, LLC, 653 Fed. Appx. 482, 485 (7th Cir. 2016) ("[T]he home 'base' of a limited
                   liability company, or LLC, is irrelevant, given that an LLC has the citizenship of each of its
                   members."); Thomas v. Guardmark, LLC, 487 F.3d 531, 534 (7th Cir. 2007) ("For diversity
                   jurisdictional purposes, the citizenship of an LLC is the citizenship of each of its members.");
                   Cosgrove v. Bartolotta, 150 F.3d 729, 731 (7th Cir. 1998) ("[T]he citizenship of an LLC for
                   purposes of the diversity jurisdiction is the citizenship of its members."); Fellowes, Inc. v.
                   Changzhou Xinrui Fellowes Office Equip. Co., 759 F.3d 787, 787−88 (7th Cir. 2014). It is not good
                   enough to state that a party is not a citizen of State X, Y, or Z. See West v. Louisville Gas & Elec.
                   Co., 951 F.3d 827, 829 (7th Cir. 2020) ("We've held repeatedly that there's no such thing as a [state
                   name here] partnership or LLC, that only the partners' or members' citizenships matter, and that
                   their identities and citizenships must be revealed.") (brackets and emphasis in original); West, 951
                   F.3d at 829 ("We do not blithely accept assurances along the lines of 'no one on our side is a citizen
                   of the opposing litigant's state.'"); Guar. Nat'l Title Co., Inc. v. J.E.G. Assocs., 101 F.3d 57, 58−59
                   (7th Cir. 1996); America's Best Inns, Inc. v. Best Inns of Abilene, LP, 980 F.2d 1072, 1073 (7th Cir.
                   1992) ("[N]either of the affidavits identifies the limited partners at the time the complaint was filed.
                   It is impossible to determine diversity of citizenship without knowing who the persons in questions
                   in question are. And litigants instructed to specify the partners and their citizenship may not respond
                   with a vacuous statement such as 'no partner is a citizen of Illinois.' How can anyone tell?"). Here,
                   Plaintiff sued an LLC, without identifying the members. Maybe there is, in fact, complete diversity.
                   But based on the complaint, no one can tell. The Court directs Defendant to file a statement
                   identifying all of its members and revealing their citizenship no later than 21 days after service of
                   process. Mailed notice (jjr, ) (Entered: 04/13/2023)

04/14/2023   Ï3    MINUTE entry before the Honorable Steven C. Seeger: An initial status report is due by June 28,
                   2023. Counsel must read the Standing Order entitled "Initial Status Conferences and Joint Initial
                   Status Reports" on the Court's website. The parties must confer as required by Rule 26(f) about the
                   nature, scope, and duration of discovery. The parties must submit two documents to the Court. First,
                   the parties must file the Joint Initial Status Report under Rule 26(f) on the docket. A Word version
                   of the Joint Initial Status Report is available on the Court's website. All parties must participate in
                   the preparation and filing of the Joint Initial Status Report. The Court requires a joint report, so a
                   filing by one side or the other is not sufficient. Second, the parties must email a Word version of a
                   proposed Scheduling Order under Rule 16(b) to the Court's proposed order inbox. Lead counsel for
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                     the parties must participate in filing the initial status report. Plaintiff must serve this Order on all
                     other parties. If the defendant has not been served with process, plaintiff's counsel must contact the
                     Courtroom Deputy at jessica_j_ramos@ilnd.uscourts.gov to reschedule the initial status report
                     deadline. Plaintiff should not file the Joint Initial Status Report before the defendant(s) has been
                     served with process. The parties must discuss settlement in good faith and make a serious attempt to
                     resolve this case amicably. All counsel of record must read and comply with this Court's Standing
                     Orders on its webpage. Please pay special attention to the Standing Orders about Depositions and
                     Discovery. Mailed notice. (jjr, ) (Entered: 04/14/2023)

04/14/2023    Ï4     Diversity Citizenship STATEMENT by Lori Bazinett (Kopel, Yitzchak) (Entered: 04/14/2023)

04/17/2023    Ï5     SUMMONS Returned Executed by Lori Bazinett as to Pregis LLC on 4/13/2023, answer due
                     5/4/2023. (Kopel, Yitzchak) (Entered: 04/17/2023)

05/03/2023    Ï6     ATTORNEY Appearance for Defendant Pregis LLC by Jennifer Helen Kay (Kay, Jennifer)
                     (Entered: 05/03/2023)

05/03/2023    Ï7     MOTION by Defendant Pregis LLC for extension of time to file answer (Kay, Jennifer) (Entered:
                     05/03/2023)

05/08/2023    Ï8     MINUTE entry before the Honorable Steven C. Seeger: Defendant's motion for an extension of time
                     (Dckt. No. 7 ) is hereby granted. The response to the complaint is due by June 5, 2023. Defendant
                     must disclose its members and their citizenship by June 5, 2023. Mailed notice. (jjr, ) (Entered:
                     05/08/2023)

05/17/2023    Ï9     MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number AILNDC−20645940.

                     (Cardin, Kelly) (Entered: 05/17/2023)

06/02/2023   Ï 10    MOTION by Defendant Pregis LLC for extension of time to file answer Defendant's Motion for
                     Additional Enlargement of Time to Submit its Responsive Pleading to Plaintiff's Complaint

                     (Kay, Jennifer) (Entered: 06/02/2023)

06/05/2023   Ï 11    MOTION by Defendant Pregis LLC to Transfer Venue

                     (Kay, Jennifer) (Entered: 06/05/2023)

06/05/2023   Ï 12    MEMORANDUM by Pregis LLC in support of motion for miscellaneous relief 11 Defendant's
                     Motion to Transfer Venue (Kay, Jennifer) (Entered: 06/05/2023)

06/05/2023   Ï 13    Defendant's Report Identifying its Members and Their Citizenship STATEMENT by Pregis LLC
                     (Kay, Jennifer) (Entered: 06/05/2023)

06/05/2023   Ï 14    MOTION by Defendant Pregis LLC to dismiss

                     (Kay, Jennifer) (Entered: 06/05/2023)

06/05/2023   Ï 15    MEMORANDUM by Pregis LLC in support of motion to dismiss 14 (Kay, Jennifer) (Entered:
                     06/05/2023)

06/12/2023   Ï 16    MINUTE entry before the Honorable Steven C. Seeger: Defendant Pregis's motion for extension of
                     time (Dckt. No. 10 ) is hereby granted. The response to the complaint is due 14 days after this Court
                     rules on the motion to transfer venue. That said, Pregis then went ahead and filed a motion to
                     dismiss anyway (Dckt. No. 14 ). Plaintiff's response to each motion is due by July 14, 2023. The
                     reply in support of each motion is due by July 28, 2023. Mailed notice (jjr, ) (Entered: 06/12/2023)

06/12/2023   Ï 17
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                     MINUTE entry before the Honorable Steven C. Seeger: The Court reviewed the unsatisfactory
                     statement by Defendant Pregis LLC about the identity and citizenship of its members. The statement
                     says that Pregis LLC is "member−owned by Pregis Topco LLC." Does that mean that Pregis Topco
                     LLC is the one and only member of Pregis LLC? If so, who are the members of Pregis Topco LLC,
                     and what is their citizenship? The report says that the entities were formed in Delaware, and are
                     headquartered in Illinois. Again, the state of registration and the principal place of business are
                     irrelevant when it comes to the citizenship of an LLC. The filing begs the question. Defendant must
                     identify all of its members and reveal their citizenship by June 21, 2023. A failure to comply will
                     lead to appropriate relief, including dismissal. Mailed notice (jjr, ) (Entered: 06/12/2023)

06/12/2023   Ï 18    MINUTE entry before the Honorable Steven C. Seeger: The motion for leave to appear pro hac vice
                     (Dckt. No. 9 ) is granted. Attorney Kelly M Cardin is added as counsel for Pregis LLC. Mailed
                     notice. (jjr, ) (Entered: 06/12/2023)

06/20/2023   Ï 19    MOTION by Defendant Pregis LLC to transfer case Joint Motion to Transfer Case to the Northern
                     District of New York

                     (Kay, Jennifer) (Entered: 06/20/2023)

06/20/2023   Ï 20    MOTION by Defendant Pregis LLC for extension of time Motion for Extension of Deadline to
                     Provide Information Regarding the Identity and Citizenship of Defendant's Members

                     (Kay, Jennifer) (Entered: 06/20/2023)

06/21/2023   Ï 21    Supplemental Report STATEMENT by Pregis LLC Regarding Its Members And Their Citizenship
                     (Kay, Jennifer) (Entered: 06/21/2023)

06/23/2023   Ï 22    MINUTE entry before the Honorable Steven C. Seeger: The joint motion to transfer this case to the
                     Northern District of New York (Dckt. No. 19 ) is hereby granted. The case is hereby transferred to
                     the Northern District of New York under section 1404(a). The Clerk's Office is directed to transfer
                     this action to the Northern District of New York forthwith. Defendant's motion to transfer venue
                     (Dckt. No. 11 ) is hereby denied as moot. Defendants' motion for an extension of time to identify its
                     members (Dckt. No. 20 ) is hereby granted. Defendant is in the process of securing information
                     about the members of Pregis Topco LLC, which is necessary to determine the existence of diversity
                     jurisdiction. The statement is due two weeks after the case arrives in New York, or by any other
                     deadline set by that district court. While the case is en route, defense counsel should continue to
                     gather information so that the Northern District of New York can assess the existence of complete
                     diversity of citizenship. In the meantime, the motion to dismiss (Dckt. No. 14 ) remains pending.
                     Plaintiff's response is due by July 14, 2023, or two weeks after the parties have a new case number
                     and can file briefs in the Northern District of New York, whichever is later. Mailed notice. (jjr, )
                     (Entered: 06/23/2023)

06/27/2023   Ï 23    TRANSFERRED to the Northern District of New York the electronic record. (jg, ) (Entered:
                     06/27/2023)
